                          UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


JAMES JILEK, on behalf of himself                       )
and all others similarly situated,                      )
                                                        )
                          Plaintiff,                    )
                                                        )
          v.                                            )       Case No. 3:23-cv-00818-RJC DCK
                                                        )
COMPASS GROUP USA, INC., d/b/a                          )
CANTEEN,                                                )
                                                        )
                          Defendant.                    )
                                                        )


                     SURREPLY IN OPPOSITION TO MOTION TO STRIKE


    I.         INTRODUCTION

    This surreply in opposition to Compass’ Motion to Strike (Doc. # 297) acknowledges the

error in Plaintiff’s Response1 regarding when Compass disclosed the existence of photographs of

the vending machines, refutes Compass’ argument that it disclosed errors in its machine surveys

before it served Martha Morgan’s Declaration on June 27, 2023, and shows why the mistake

regarding the photographs does not warrant granting the motion to strike.

    II.        BACKGROUND

    Compass’ motion attempts to strike Dr. Kriegler’s Supplemental Expert Report (Doc. # 262-

3) and Second Supplemental Expert Report (Doc. # 262-4).2 Plaintiff’s Response argues that


1
 Plaintiff’s Response to Motion to Strike (“Response”) (Doc. # 303).
2
 Compass also seeks to strike Dr. Kriegler’s Declaration submitted with Plaintiff’s motion for class certification
(Doc. # 293-4). However, that is moot because the declaration only pertains to the South Carolina and Florida
subclasses that Plaintiff withdrew from its motion for class certification. See Plaintiffs’ Supplement to Motion for
Class Certification, Doc. # 294.
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    Case 3:23-cv-00818-JAG-DCK                     Document 323            Filed 09/03/24         Page 1 of 7
“[t]he timing of the disclosure of the Supplemental and Second Supplemental Reports is

‘harmless’ under the application of the first four factors set forth in Southern States Rack &

Fixture, Inc. v. Sherwin-Williams Co., 318 F.3d 592, 597 (4th Cir. 2003). That is because any

surprise to Defendant was minimal, Defendant had an opportunity to cure any surprise that may

have affected the preparation of its defense, there is no trial date and therefore there will be no

disruption of the trial, and the reports are vital to Plaintiff’s case.” Response at 1. “In addition,

the timing of the disclosures was caused by Compass’ late disclosure of vital information and

therefore the fifth Southern States factor also points toward denial of this motion.” Id. at 1–2.

    Compass Group USA, Inc.’s Reply in Support of Motion to Strike (“Reply”) (Doc. # 305),

argues that Plaintiff falsely stated that it was not informed of either the photographs or errors in

its machine survey before Compass served Martha Morgan’s Declaration on June 27, 2023.

Reply at 2–3. On August 28, 2024, the Court granted Plaintiff leave to file a Surreply. As shown

in this Surreply, Compass is correct regarding photographs but wrong regarding whether it had

disclosed that its survey had errors and also wrong that the error regarding the photographs

warrants striking the expert reports..

    III.    ARGUMENT

    First, Plaintiff acknowledges that the Response incorrectly states that the existence of

photographs was not disclosed until June 27, 2023. See Supplemental Declaration of M.

Anthony Jenkins, ¶ 2. This was an unintentional error, and Plaintiff apologizes to the Court and

counsel for Compass. See id. at ¶ 3. While not an excuse, the deposition excerpts attached as

Exhibits 1 through 4 to the Reply were from depositions that were taken by an attorney who left

the Arias firm in the summer of 2023 and withdrew from the case; regarding the deposition

excerpt attached as Exhibit 5 from the deposition of Martha Morgan on May 23, 2023, M.
                                                   2



    Case 3:23-cv-00818-JAG-DCK              Document 323         Filed 09/03/24       Page 2 of 7
Anthony Jenkins attended the deposition via Zoom but the questioning was conducted by the

attorney who separated from the firm, and Mr. Jenkins did not recall the two questions

concerning photos when he prepared and signed his Declaration. See id. at ¶ 4.

   Second, Plaintiff was correct that Compass did not disclose the existence of survey errors –

as opposed to the mere possibility of errors – before the Morgan Declaration. Note the testimony

Compass quotes or paraphrases from the depositions of its employees: “potential human errors,”

“could be ‘human errors,’” “‘could be errors,’” “it was ‘certainly possible’ that the survey

contained errors.” Reply at 4. Of course, that would be true of any survey whether or not

witnesses testified to that effect. But nowhere does Compass cite testimony before late June 2023

revealing the existence of actual survey errors.

   One of Compass’ excerpts makes this clear. It cites David Goldring’s testimony on June 9,

2021, that he and his team did not “audit the results of the survey, “ but rather had “looked

through some of the photographs just to kind of see what the – what kind of the visual results

were”; all he said about errors was that it was “possible that data was either input incorrectly or

that someone in the field checked yes when it should have been no ....” Reply at 3. He obviously

hadn’t found any errors (much less a significant number) or he would have said errors were more

than “possible.” If that were the case, he would have said he’d found them.

   Thus, Plaintiff was truthful when he said that the Declaration of Martha Morgan marked

when Compass “informed Plaintiff for the first time that Defendant’s survey reports were subject

to human error[,] and “[a]s of June 27, 2023, … none of the deponents had disclosed any human

errors in the survey ....” (Doc. # 303-1, ¶¶ 4–5). Regarding the first statement, “subject to human

error” is not the same as “subject to possible errors.”

   Perhaps in recognition of this fact, Compass paraphrases Plaintiff’s Response and accuses
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    Case 3:23-cv-00818-JAG-DCK             Document 323        Filed 09/03/24      Page 3 of 7
him of having asserted that he was not informed of the potential for errors. See Reply at 4

(“Plaintiff’s representation that ‘none’ of the Compass employees deposed prior to June 27, 2023

disclosed that there could be ‘human errors’ in the survey is wrong and misleading.”). There’s a

reason Compass resorted to paraphrase. There is no actual language in the Response making

such a statement. Plaintiff consistently referred to actual, not potential, errors. See Response at 2

(“none of the deponents had disclosed these human errors”), 4 (“the human errors,” “unknown

number of errors”), 12 (“when Plaintiff finally learned that Compass was claiming that the

reports contained human errors,” “delay in disclosing human errors”). It was always “errors,” not

“possible” or “could-be” errors.

   There are two other reasons Compass chooses to focus on its disclosure of possible, rather

than actual, errors. First, it is an implicit concession that the disclosure of actual errors came too

late for Dr. Kriegler to do more by the expert deadline than devise a methodology for

incorporating the errors. Moreover, Compass would then have to explain why it waited until the

eve of Plaintiff’s expert disclosure deadline, more than three years after first disclosing the

existence of the survey in early 2000, to reveal those errors. See Decl. of M. Anthony Jenkins,

Doc # 303-1, ¶ 2. It obviously has no legitimate explanation for its delay.

   The clear fact is that, when Compass served the Declaration of Martha Morgan, it knew that

the earlier deposition testimony was not enough to put Plaintiff on notice that the survey

contained errors. Otherwise, there was no reason to provide the Declaration. But if it wanted to

challenge Plaintiff’s damages calculation on the basis that the survey contained a fatal number of

errors, it had to disclose the factual basis of that challenge. Thus, it served the Morgan

Declaration, but woefully late.

   Third, given Plaintiff’s erroneous statement regarding photographs but true statements
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    Case 3:23-cv-00818-JAG-DCK              Document 323         Filed 09/03/24      Page 4 of 7
regarding the disclosure of survey errors, there are a number of reasons why Compass has not

adequately supported its motion. First, the lateness of the supplemental report relates not just to

existence of the photographs but their use in showing definitive errors in the survey. The key fact

is not the existence of the photographs alone, but Compass’ use of them to show survey errors,

something first disclosed in the Declaration of Martha Morgan on June 27, 2023. At that point,

Dr. Kriegler did not have enough time before the expert deadline to do more than devise his

methodology to carry out once the photographs were requested and produced. As noted above,

Compass not only does not argue to the contrary, it implicitly concedes the point by focusing on

the earlier testimony on potential, rather than actual, errors.

   As if that were not enough, the reason for the late disclosure is only one of the Southern

States factors. Here, the other four factors also weigh in favor of denying the motion to strike, as

demonstrated in the Response.

   IV.     CONCLUSION

    Plaintiff respectfully requests that the Motion to Strike be denied.

Dated: September 3, 2024                               Respectfully submitted,

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                                                       ANTOGNOLI, P.C.

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    Case 3:23-cv-00818-JAG-DCK              Document 323          Filed 09/03/24   Page 5 of 7
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                                 6



Case 3:23-cv-00818-JAG-DCK   Document 323     Filed 09/03/24    Page 6 of 7
                               CERTIFICATE OF SERVICE

       I hereby certify that on September 3, 2024, the foregoing was served upon all counsel of

record via electronic mail.

                                                    /s/ Richard S. Cornfeld




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    Case 3:23-cv-00818-JAG-DCK           Document 323       Filed 09/03/24     Page 7 of 7
